Case 2:12-cv-02819-RDP Document 670-3 Filed 02/13/18 Page 1 of 7            FILED
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                                                                            PL0002
Case 2:12-cv-02819-RDP Document 670-3 Filed 02/13/18 Page 2 of 7




                                                                   PL0003
Case 2:12-cv-02819-RDP Document 670-3 Filed 02/13/18 Page 3 of 7

                           EXHIBIT L




                                                                   PL0005
Case 2:12-cv-02819-RDP Document 670-3 Filed 02/13/18 Page 4 of 7
                             EXHIBIT M




                                                                   PL0003
Case 2:12-cv-02819-RDP Document 670-3 Filed 02/13/18 Page 5 of 7




                                                                   PL0004
Case 2:12-cv-02819-RDP Document 670-3 N
                            EXHIBIT   Filed 02/13/18 Page 6 of 7
Case 2:12-cv-02819-RDP Document 670-3 Filed 02/13/18 Page 7 of 7
